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 8
                            UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
     CHRIS HASHEM, Individually and on             Case No. 2:20-cv-02303-CBM-
11   Behalf of All Others Similarly Situated,      MAA
12                                    Plaintiff,
                                                   (Consolidated with Case No. 2:20-
13                                                 cv-02895-CBM-MAA)
          vs.
14                                                 Hon. Consuelo B. Marshall
15                                                 CLASS ACTION
      NMC HEALTH PLC, PRASANTH
16    MANGHAT,     KHALIFA   BIN                   SECOND AMENDED
      BUTTI, PRASHANTH SHENOY, H.                  COMPLAINT FOR VIOLATIONS
17    J. MARK TOMPKINS, and B. R.                  OF THE FEDERAL SECURITIES
      SHETTY,                                      LAWS
18
                                    Defendants     DEMAND FOR JURY TRIAL
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 1         Lead Plaintiffs Shengming Huang, Chris Hashem, and Abdul Raziq Abdul
 2   (“Plaintiffs”), individually and on behalf of all other persons similarly situated, by
 3   Plaintiffs’ undersigned attorneys, for Plaintiffs’ complaint against Defendants (defined
 4   below), alleges the following based upon personal knowledge as to Plaintiffs and
 5   Plaintiffs’ own acts, and information and belief as to all other matters, based upon, inter
 6   alia, the investigation conducted by and through their attorneys, which included, among
 7   other things, a review of the Defendants’ public documents, conference calls and
 8   announcements made by Defendants, public filings, wire and press releases published by
 9
     and regarding NMC Health Plc (“NMC” or the “Company”), and information readily
10
     obtainable on the Internet. Plaintiffs believe that substantial evidentiary support will exist
11
     for the allegations set forth herein after a reasonable opportunity for discovery.
12
                                    NATURE OF THE ACTION
13
           1.     This is a class action on behalf of persons or entities who purchased or
14
     otherwise acquired NMC American Depositary Shares (“ADSs”) between March 13, 2016
15
     and March 10, 2020, both dates inclusive (the “Class Period”). Plaintiffs seek to recover
16
     compensable damages caused by Defendants’ violations of the federal securities laws
17
     under the Securities Exchange Act of 1934 (the “Exchange Act”).
18
                                 JURISDICTION AND VENUE
19
           2.      The claims asserted herein arise under and pursuant to Sections 10(b) and
20
     20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated
21
22
     thereunder by the SEC (17 C.F.R. § 240.10b-5).

23         3.      This Court has jurisdiction over the subject matter of this action pursuant to

24   28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. §78aa).
25         4.      This Court has jurisdiction over each defendant named herein because each
26   defendant has sufficient minimum contacts so as to render the exercise of jurisdiction by
27   this Court permissible under traditional notions of fair play and substantial justice.
28
                                  SECOND AMENDED COMPLAINT

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 1         5.     During the Class Period, NMC’s ADSs traded in the United States on the
 2   OTC Pink, an American trading venue operated by OTC Markets, Inc., an American
 3   company, under the ticker symbol “NMHLY.” NMC’s ADSs were registered exclusively
 4   in the United States by two American financial institutions, Deutsche Bank Trust
 5   Company Americas, located at 60 Wall Street, New York, New York 10005, and Citibank
 6   N.A., located at 399 Park Avenue New York, New York 10043, and could be exchanged
 7   for the underlying NMC ordinary shares at those designated U.S. branches of Deutsche
 8   Bank Trust Company Americas and Citibank N.A. On information and belief, NMC
 9
     ADSs are not traded on any trading venue outside the United States.
10
           6.     Although the NMC ADSs were not sponsored directly by NMC, one of the
11
     depositary institutions, Deutsche Bank, has explained to the “Securities and Exchange
12
     Commission during ADR rulemaking in 2008 stating that ‘in practice, depositary banks
13
     typically obtain the issuer’s consent before establishing an unsponsored ADR facility,’”
14
     see Stoyas v. Toshiba Corp., 896 F.3d 933, 951-52 (9th Cir. 2018) (citing 2008 SEC ADR
15
     Rulemaking at 52,762 n.113). And, a law firm that frequently represents depositary
16
     institutions opined regarding the 2008 rulemaking that depositary issuers of unsponsored
17
     ADRs “typically request[] a letter of non-objection” from the foreign company.” Id.
18
     Accordingly, Plaintiffs are informed and believed that NMC has indicated its consent or
19
     non-objection to the American registration and trading of its ADSs, even though they are
20
     not expressly sponsored. Finally, NMC “made it possible for depositary institutions to
21
22
     issue unsponsored [NMC] ADRs by meeting the requirements in 17 C.F.R. § 240.12g3-2(b),

23   including posting its annual report in English on its website and by not establishing a

24   sponsored ADR (which would preclude unsponsored ADRs).” Id.
25         7.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and
26   Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged misstatements entered
27   and the subsequent damages took place in this judicial district.
28

                                 SECOND AMENDED COMPLAINT
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 1         8.      In connection with the acts, conduct, and other wrongs alleged in this
 2   complaint, Defendants, directly or indirectly, used the means and instrumentalities of
 3   interstate commerce, including but not limited to, the United States mails, interstate
 4   telephone communications and the facilities of the national securities exchange.
 5                                            PARTIES
 6         9.     Plaintiffs, as set forth in their previously-filed certifications, incorporated by
 7   reference herein, purchased NMC ADS securities during the Class Period and were
 8   damaged thereby. Plaintiffs purchased their NMC ADS shares in the United States via
 9
     United States-based brokers on the OTC Pink trading venue, and therefore incurred
10
     irrevocable liability for those transactions in the United States.
11
           10.    During the Class Period, Defendant NMC, together with its subsidiaries,
12
     purported to provide healthcare services in the United Arab Emirates, the United
13
     Kingdom, Spain, and internationally. The Company purported to own and manage
14
     approximately 200 healthcare facilities, including hospitals, medical centers, long term
15
     care facilities, day surgery centers, fertility clinics, and home health services providers.
16
     The Company purported to offer medical services as well as research and medical services
17
     in the field of gynecology, obstetrics, and human reproduction; and management services
18
     to hospitals, as well as retail pharmaceutical goods.
19
           11.    NMC is incorporated in England and Wales with its head office located at
20
     Devonshire House, Level 1 One Mayfair Place, London W1J 8AJ, United Kingdom.
21
22
     During the Class Period, NMC owned a 70% interest in 25 United States fertility clinics,

23   which it holds via a Delaware corporation called NMC Eugin US, and its subsidiary,

24   Boston IVF Ventures, LLC.
25         12.    Defendant Prasanth Manghat (“Manghat”) served as the Company’s Chief
26   Executive Officer (“CEO”) and Executive Director from March 2017 until February
27   2020. Previously, Manghat had served as the Company’s Deputy CEO and Chief
28   Financial Officer (“CFO”).

                                  SECOND AMENDED COMPLAINT
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 1         13.         Defendant Khalifa Bin Butti, also known as Khalifa Butti Omeir Bin Yousef
 2   and Khalifa Butti al-Muhairi, (“K. Bin Butti”) served as the Company’s Executive Vice
 3   Chairman from July 2017 until February 2020 and as a Director from June 2017 until
 4   February 2020. K. Bin Butti purportedly owned 14.7% of NMC as of March 6, 2019.
 5   Together with Defendant Shetty (defined below) and H.E. Saeed Bin Butti (“H.E. Bin
 6   Butti”), K. Bin Butti was noted as one of “the Company’s immediate and ultimate
 7   controlling part[ies]” in the Annual Reports 2015, 2016, 2017, and 2018.
 8         14.         Defendant Prashanth Shenoy (“Shenoy”) has served as the Company’s Chief
 9
     Financial Officer (“CFO”) since August 2017. Previously, Shenoy had served as the
10
     Company’s Deputy CFO.
11
           15.         Defendant H. J. Mark Tompkins (“Tompkins”) has served as the Company’s
12
     Non-Executive (Joint) Chairman of the Board during the Class Period.
13
           16.         Defendant B. R. Shetty (“Shetty”) founded the Company and served as the
14
     Company’s CEO and Executive Vice Chairman until March 2017 and served as the
15
     Company’s Non-Executive Joint Chairman of the Board from March 2017 until February
16
     2020. Shetty purportedly owned 19.2% of NMC as of March 6, 2019. Along with
17
     Defendant K. Bin Butti and H.E. Bin Butti, the Company admitted that Shetty was one of
18
     the “the Company’s immediate and ultimate controlling part[ies]” in the Annual Reports
19
     2015, 2016, 2017, and 2018.
20
           17.         Defendants Manghat, K. Bin Butti, Shenoy, Tompkins, and Shetty are
21
22
     collectively referred to herein as the “Individual Defendants.”

23         18.         Each of the Individual Defendants:

24               (a)      directly participated in the management of the Company;
25               (b)      was directly involved in the day-to-day operations of the Company at the
26                        highest levels;
27               (c)      was privy to confidential proprietary information concerning the
28                        Company and its business and operations;

                                      SECOND AMENDED COMPLAINT
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 1               (d)      was directly or indirectly involved in drafting, producing, reviewing
 2                        and/or disseminating the false and misleading statements and information
 3                        alleged herein;
 4               (e)      was directly or indirectly involved in the oversight or implementation of
 5                        the Company’s internal controls;
 6               (f)      was aware of or recklessly disregarded the fact that the false and
 7                        misleading statements were being issued concerning the Company;
 8                        and/or
 9
                 (g)      approved or ratified these statements in violation of the federal securities
10
                          laws.
11
           19.         NMC is liable for the acts of the Individual Defendants and its employees
12
     under the doctrine of respondeat superior and common law principles of agency because
13
     all of the wrongful acts complained of herein were carried out within the scope of their
14
     employment.
15
           20.         The scienter of the Individual Defendants and other employees and agents of
16
     the Company is similarly imputed to NMC under respondeat superior and agency
17
     principles.
18
           21.         Defendants NMC and the Individual Defendants are collectively referred to
19
     herein as “Defendants.”
20
21                                  SUBSTANTIVE ALLEGATIONS
22                                          The Fraudulent Scheme
23         22.         Throughout the Class Period, Defendants NMC and the Individual

24   Defendants (collectively, “Defendants”) engaged in a device, scheme, or artifice to
25   defraud in violation of Exchange Act §10(b) and SEC Rule 10b5(a); made untrue
26   statements of material fact and omitted information necessary to make such statements not
27   misleading in violation of Exchange Act §10(b) and SEC Rule 10b-5(b); and engaged in
28   acts, practices and a course of business which operated as a fraud or deceit in violation of

                                      SECOND AMENDED COMPLAINT
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 1   Exchange Act §10(b) and SEC Rule 10b-5(c). The concealed related party transactions,
 2   asset stripping, and hidden debt (including to related parties) as described below were the
 3   focus of the scheme, and to further the scheme Defendants also engaged in a distinct course
 4   of false and misleading statements described below.
 5             23.   As part of the scheme, NMC incurred a crippling debt load of at least $6.6
 6   billion, which it did not disclose to investors. This debt included both traditional debt, as
 7   well as debt disguised as undisclosed operating leases and undisclosed reverse factoring
 8   (i.e., factoring of accounts payable).
 9
               24.   As described below, at the end of the Class Period, a review that the Company
10
     initiated independent of the Individual Defendants “discovered evidence leading to
11
     suspected fraudulent behavior,” and identified several billion dollars of undisclosed debt
12
     facilities.1
13
               25.   In a separate judicial proceeding in the United Kingdom, the court stated
14
     “Something had gone very wrong with the management and oversight” of NMC.2 In a
15
     statement put out in April 20, 2020, Defendant Shetty admitted “that serious fraud and
16
     wrongdoing appears to have taken place at NMC” and other companies he controlled,
17
     including Finablr, “by current and former executives.” 3 Defendant Shetty admitted “that
18
     bank accounts were operated in his name to engineer fraudulent money transfers.”4
19
               26.   A ruling by the High Court of London credited a finding from a forensic
20
     investigation indicating that Shetty and Bin Butti (along with a relative of Bin Butti) were
21
22
23   1
       See In re NMC Health PLC, No. 20-11385-MFW, ECF No. 1-1 (Verified Petition Under Chapter 15
     for Recognition of a Foreign Proceeding) (Del. Bkr. May 28, 2020).
24
     2
        See “Assets of billionare B.R. Shetty frozen worldwide by UK court,” available at
25   https://www.thenewsminute.com/article/assets-billionaire-br-shetty-frozen-worldwide-uk-court-
     143481.
26
     3
       See “BR Shetty admits serious fraud in companies, blames group of executives for it,” available at
27   https://www.thenewsminute.com/article/br-shetty-admits-serious-fraud-companies-blames-group-
     executives-it-123608
28
     4
         Id.
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 1   the principal masterminds of the fraudulent scheme, quoting from an affidavit
 2   summarizing the forensic results: “The documentary evidence uncovered by the forensic
 3   team shows that the fraud was perpetrated against the applicants and other companies in
 4   the NMC Group by the principal shareholders,” which it defined to mean Shetty, Bin
 5   Butti, and Bin Butti’s relative.5
 6
               Defendants’ Misstatements and Omissions During the Class Period
 7           27.   On or around March 13, 2016, NMC released its Annual Report & Accounts
 8   2015 (“Annual Report 2015”). The Annual Report indicated that Defendants Manghat
 9
     and Shetty were responsible for “managing the Group businesses and in executing the next
10
     phase of our strategic growth plan.” It was signed by Defendant Shetty as “Executive Vice
11
     Chairman and CEO.”
12
             28.   The Annual Report 2015 stressed the Company’s strong financial base,
13
     strong risk management, organic expansion, and acquisitions.
14
             29.   In particular, it stated the following about the Company’s strong financial
15
     base:
16           Any period of substantial growth and capital development needs to be
             progressed against a background of a strong financial base.
17
                                            *      *      *
18
19
             This strong financial base enabled the Company to restructure existing loans,
             reduce its cost of funds and create additional headroom to ensure that the
20           Group is conservatively financed.

21   (Emphasis added.)
22           30.   The Regarding the Company’s risk management, the 2015 Annual Report
23
     stated in pertinent part:
24
             In Q4, 2014 the management team, supported by [PricewaterhouseCoopers],
25           implemented a full risk identification process with the risks facing the
             business developed through a bottom-up/top-down review process which has
26           been, and will be, reviewed during each financial year. There have been a few
27
     5
      See Abu Dhabi Commercial Bank PJSC v Shetty & Ors [2020] EWHC 3423 (Comm) (02 December
28   2020) at ¶10, available at http://www.bailii.org/cgi-bin/format.cgi?doc=/ew/cases/EWHC/Comm/
     2021/3423.html (emphasis in original).
                                    SECOND AMENDED COMPLAINT
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           changes to the Group’s risk profile in the last 12 months including specific
 1         focus on those risks which are inherent as part of an acquisitive strategy for
           growth. A list of the risks facing the Group, how these are mitigated and what
 2         effect the principal risks could have on the Group are set out on pages 37 to
           39. The Board has taken a proactive stance in considering risk, and the
 3         board sees this as an essential element in the successful development of the
           Group and in creating long term value for our shareholders.
 4
 5   (Emphasis added.)
 6         31.    The Annual Report 2015 also stated:
 7
           NMC follows a conservative approach in risk taking and has implemented
 8         controls and mitigation strategies in order to reduce those risks.
 9                                           *     *     *
10         There have been no material changes made to the Group’s strategic risk
           register in 2015 or changes to the relative importance or materiality of any
11         particular risk.
12   (Emphasis added.)
13
           32.    The Annual Report 2015, regarding potential conflicts of interest, stated the
14
     following:
15
           The Board are aware of the interest that some Directors have in other
16         businesses in which they have invested. Any conflicts of interest and related
           party transactions that may arise are monitored by:
17
                  • A list of other relevant interests of each Director being circulated to
18                  the Board at each of its Board Meetings;
19                • Each of the Directors are asked to confirm that they have no other
20                  interests which would conflict them for the purposes of any item to
                    be discussed at the meeting; where such conflict is reported, the
21                  respective Director is not permitted to take part in the consideration
                    of that matter by the Board;
22
                  • Each Director discloses to the Board any related party transactions
23                  in which they are connected, and such transactions are reported in
                    the Group’s financial statements.
24
           Whilst Directors on the Board have other business interests, the Board do not
25         consider that these, nor the time commitment that they require, affect the
           ability of such Directors to undertake their role or comply with their statutory
26         obligations.
27
           33.    The Annual Report 2015 touted the Company’s “strengthening of internal
28
     controls,” stating in pertinent part:
                                   SECOND AMENDED COMPLAINT
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            In recent years, as the Group has progressed an organic and inorganic growth
 1          strategy, in order to strengthen the governance and control structure further
            across the Group, management have progressively been:
 2
                  • incorporating additional key internal controls into its financial and
 3                  operational processes;
                  • implementing new policies and procedures covering all aspects of
 4                  the Group’s accounting policies and controls;
 5
                  • extending its Quality Team and the Group’s Quality and Clinical
                    Governance processes;
 6                • enhancing the Group’s Internal Audit function which independently
                    reviews and monitors key business processes[.]
 7
 8
            34.   The Annual Report 2015 also listed several “key elements” of its controls and

 9   risk mitigation. These key elements included the following:

10                • A defined process for controlling capital expenditure, including
                    appropriate authorization levels, which is monitored and approved
11                  by the Board as appropriate.
12                                         *    *      *
                  • A formal process through which approval for organic and inorganic
13                  expansion projects is given. A formal transaction request paper is
                    produced including details of the proposed transaction, how the
14                  transaction will be financed, market studies, strategic benefits and
                    longer term effects on the Group, due diligence and key transaction
15                  risks are considered.
16                                        *     *     *
                  • A delegation of authority which provides that very few individuals
17                  within the organization have payment approval authority. Access to
                    cash is also restricted to very few individuals. All material
18                  payments, including within the acquired businesses, are restricted to
19
                    the senior management team.

20          35.   The Annual Report 2015 was attested to by the Board of Directors in full,
21    including Defendants Shetty, Manghat and Tompkins, with the Board “confirming to the
22    best of [their] knowledge:”
23
                  • The financial statements, prepared in accordance with the
24                  International Financial Reporting Standards as adopted by the EU,
                    give a true and fair view of the assets, liabilities, financial position
25                  and profit or loss of the Company and the undertakings included in
                    the consolidation taken as a whole; and
26                • The Strategic Report includes a fair review of the development and
                    performance of the business and the position of the Company and
27                  the undertakings included in the consolidation taken as a whole,
                    together with a description of the principal risks and uncertainties
28                  they face.

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     (Emphasis added.)
 1
 2         36.       The Annual Report 2015 stated the following regarding related party
 3   transactions:
 4         RELATED PARTY TRANSACTIONS
 5         These represent transactions with related parties, including major
 6         shareholders and senior management of the Group, and entities controlled,
           jointly controlled or significantly influenced by such parties, or where such
 7         parties are members of the key management personnel of the entities. Pricing
           policies and terms of all transactions are approved by the management of the
 8         Group.
 9         The Company’s immediate and ultimate controlling party is a group of three
           individuals (H.E. Saeed Bin Butti, Dr B.R. Shetty and Mr Khalifa Bin Butti)
10         who are all shareholders and of whom one is a director of the Company and
           who together have the ability to control the company. As the immediate and
11         ultimate controlling party is a group of individuals, it does not produce
           consolidated financial statements.
12
13         RELATIONSHIP AGREEMENT
14         The Controlling Shareholders and the Company have entered into a
           relationship agreement, the principal purpose of which is to ensure that the
15         Company is capable of carrying out its business independently of the
           Controlling Shareholders and that transactions and relationships with the
16         Controlling Shareholders are at arm’s length and on a normal commercial
           basis.
17
           In accordance with the terms of the relationship agreement, the Controlling
18         Shareholders have a collective right to appoint a number of Directors to the
19
           Board depending upon the level of their respective shareholdings. This
           entitlement reduces or is removed as the collective shareholdings reduce.
20         The relationship agreement includes provisions to ensure that the Board
           remains independent.
21
                                           *     *     *
22
           RELATED PARTY TRANSACTIONS
23
           These represent transactions with related parties, i.e. major shareholders and
24         senior management of the Company, and entities controlled, jointly controlled
           or significantly influenced by such parties. Pricing policies and terms of all
25         transactions are approved by the management of the Company.
26         The Company’s immediate and ultimate controlling party is a group of three
           individuals (H.E. Saeed Bin Butti, Dr B.R. Shetty and Mr Khalifa Bin Butti)
27         who are all shareholders and of whom one is a director of the Company and
           who together have the ability to control the Company.
28
     (Emphasis added.)
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 1         37.    The Annual Report 2015 stated that the Company’s “Net Debt” as of
 2   December 31, 2015 was $553,000,000.          Moreover, it stated that the Board, including
 3   Defendants Shetty, Manghat and Tompkins, ensured that the “exposure of the Group to
 4   financial instruments” was fully set out in the Annual Report’s financial statements and
 5   accompanying footnotes.
 6         38.      On or around March 7, 2017, NMC released its Annual Report & Accounts
 7   2016 (“Annual Report 2016”).          The Annual Report 2016 attributed results to the
 8   contribution of “Dr. Shetty and his executive team.” It was signed by Defendant Shetty
 9
     as Executive Chairman and CEO.
10
           39.      The Annual Report 2016 stressed the Company’s acquisitions, organic
11
     expansion, and financial stability.
12
           40.    In particular, it stated in a portion attributed to Defendant Tompkins:
13
           In 2016, the Board have been keen to retain flexibility with regards to
14         financing, as well as ensuring that the Group is well funded for both general
           working capital purposes and to facilitate strategic acquisitions.
15
16         41.    The Annual Report 2016 stated the following regarding risk management, in
17   pertinent part:
18         NMC follows a conservative approach in risk taking and has implemented
19
           controls and mitigation strategies in order to reduce those risks.

20                                           *      *      *

21         There have been no material changes made to the Group’s strategic risk
           register in 2016.
22
     (Emphasis added.)
23
24         42.    The Annual Report 2016 reiterated the Annual Report 2015 regarding the
25   Board and potential conflicts of interest, stating in pertinent part:
26         The Board are aware of the interest that some Directors have in other
           businesses in which they have invested. Any conflicts of interest and related
27         party transactions that may arise are monitored by:
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                  • A list of other relevant interests of each Director being circulated to
 1                  the Board at each of its Board Meetings;
 2                • Each of the Directors are asked to confirm that they have no other
                    interests which would conflict them for the purposes of any item to
 3                  be discussed at the meeting; where such conflict is reported, the
                    respective Director is not permitted to take part in the consideration
 4                  of that matter by the Board;
 5                • Each Director discloses to the Board any related party transactions
 6                  in which they are connected, and such transactions are reported in
                    the Group’s financial statements.
 7
 8          Whilst Directors on the Board have other business interests, the Board do not
            consider that these, nor the time commitment that they require, affect the
 9          ability of such Directors to undertake their role or comply with their statutory
            obligations.
10
11          43.   The Annual Report 2016, in a section approved by the Board, also listed and
12   reiterated several “key elements” of its controls and risk mitigation from the Annual
13   Report 2015. These key elements included the following:
14                • A defined process for controlling capital expenditure, including
                    appropriate authorization levels, which is monitored and approved
15                  by the Board as appropriate.
16                                          *      *      *
17                • A formal process through which approval for organic and inorganic
                    expansion projects is given. A formal transaction request paper is
18                  produced including details of the proposed transaction, how the
19
                    transaction will be financed, market studies, strategic benefits and
                    longer term effects on the Group, due diligence and key transaction
20                  risks are considered.

21                                          *      *      *
22                • A delegation of authority which provides that very few individuals
                    within the organization have significant payment approval authority.
23                  Access to cash is also restricted to very few individuals. All material
                    payments, including within the acquired businesses, are restricted to
24                  the senior management team.
25          44.   The Annual Report 2016 also touted the independent and regulatory controls
26    on the Company in conjunction with its internal auditing. Moreover, it stated that the
27    Board, including Defendants Shetty, Manghat, and Tompkins, ensured that the “exposure
28

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 1   of the Group to financial instruments” was fully set out in the Annual Report’s financial
 2   statements and accompanying footnotes.
 3         45.    The Annual Report 2016 reiterated the Annual Report 2015 regarding related
 4   party transactions, stating the following:
 5         RELATED PARTY TRANSACTIONS
 6
           These represent transactions with related parties, including major
 7         shareholders and senior management of the Group, and entities controlled,
           jointly controlled or significantly influenced by such parties, or where such
 8         parties are members of the key management personnel of the entities. Pricing
           policies and terms of all transactions are approved by the management of the
 9         Group.
10         The Company’s immediate and ultimate controlling party is a group of three
           individuals (H.E. Saeed Bin Butti, Dr BR Shetty and Mr Khalifa Bin Butti)
11         who are all shareholders and of whom one is a director of the Company and
           who together have the ability to control the company. As the immediate and
12         ultimate controlling party is a group of individuals, it does not produce
           consolidated financial statements.
13
14         RELATIONSHIP AGREEMENT
15         The Controlling Shareholders and the Company have entered into a
           relationship agreement, the principal purpose of which is to ensure that the
16         Company is capable of carrying out its business independently of the
           Controlling Shareholders and that transactions and relationships with the
17         Controlling Shareholders are at arm’s length and on a normal commercial
           basis.
18
19
           In accordance with the terms of the relationship agreement, the Controlling
           Shareholders have a collective right to appoint a number of Directors to the
20         Board depending upon the level of their respective shareholdings. This
           entitlement reduces or is removed as the collective shareholdings reduce.
21         The relationship agreement includes provisions to ensure that the Board
           remains independent.
22
                                            *     *    *
23
24         RELATED PARTY TRANSACTIONS
25         These represent transactions with related parties, i.e. major shareholders and
           senior management of the Company, and entities controlled, jointly controlled
26         or significantly influenced by such parties. Pricing policies and terms of all
           transactions are approved by the management of the Company.
27
           The Company’s immediate and ultimate controlling party is a group of three
28         individuals (H.E. Saeed Bin Butti, Dr BR Shetty and Mr Khalifa Bin Butti)
           who are all shareholders and of whom one is a director of the Company and
                                  SECOND AMENDED COMPLAINT
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           who together have the ability to control the Company. As the immediate and
 1         ultimate controlling party is a group of individuals, it does not produce
           consolidated financial statements.
 2
     (Emphasis added.)
 3
 4         46.    The Annual Report 2016 stated that the Company’s “Net Debt” as of
 5   December 31, 2016 was $431,300,000.
 6         47.    On or around March 6, 2018, NMC released its Annual Report & Accounts
 7   2017 (“Annual Report 2017”). The Annual Report 2017 was signed by Defendants Shetty
 8   and Tompkins, the Company’s Non-Executive Joint Chairmen, and stated that the Board,
 9
     including Defendants Shetty, Manghat, and Tompkins, ensured that the “exposure of the
10
     Group to financial instruments” was fully set out in the Annual Report’s financial
11
     statements and accompanying footnotes.
12
           48.    In the Annual Report 2017, the then-new-CEO, Defendant Manghat,
13
     included his Chief Executive Officer’s Review to shareholders.           Therein, Manghat
14
     stressed the Company’s growth. In particular, he stated the following:
15
           VIEWING THE            FUTURE        WITH     OPTIMISM,        DESPITE    ALL
16         CHALLENGES
17         NMC has moved from success to success over the past many years and I see
           no reason why this should change in the foreseeable future, despite an
18         otherwise challenging environment.
19                                          *      *     *
20
           The Company continues to benefit from ready access to debt financing and a
21         supportive shareholder base that we will not take for granted. While we
           continue to apply strict criteria to our expansion opportunities, this
22         backdrop gives us confidence in addressing any future funding
           requirements to support our ambitious growth plans.
23
     (Emphasis added.)
24
25         49.    The Annual Report 2017 stated the following, in pertinent part, regarding risk
26   management: NMC follows a conservative approach in risk taking and has implemented
27   controls and mitigation strategies in order to reduce those risks.
28

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 1          50.    The Annual Report 2017 stated the following, in pertinent part, regarding
 2   internal controls:
 3          The Board and management team have strengthened internal controls and kept
            approach to risk under review during the period of sustained growth and
 4          integration.
 5
 6                                            *      *     *

 7          The Board has overall responsibility for the Group’s systems of internal
            control and on behalf of the Board, the Audit Committee has been engaged in
 8          the process of ensuring that management have established continuous
            processes for identifying, evaluating and managing the risks the Group faces.
 9          These processes include the reporting from the finance department on Group
            performance, the work of the internal auditors and issues identified by the
10          external auditors to the extent covered by their audit work. The Board is
            responsible for monitoring the ongoing effectiveness of these systems and for
11          conducting a formal annual review of the effectiveness of the Group’s internal
            controls.
12                                          *      *    *
13          In reviewing the effectiveness of the internal controls in place during the year,
            the Audit Committee considered, amongst other matters, manual controls in
14          place, the independence of the separate operating units, the delegation of
            authority, the balance of centralized and decentralized systems and the
15          reporting process in relation to exceptional items.
16
            51.    The Annual Report 2017 stated the following regarding the Board and
17
     potential conflicts of interest, in pertinent part:
18
19
            The Board are aware of the interest that some Directors have in other
            businesses in which they have invested. Any conflicts of interest and related
20          party transactions that may arise are monitored with:

21                 • Each of the Directors are asked to confirm that they have no other
                     interests which would conflict them for the purposes of any item to
22                   be discussed at the meeting; where such conflict is reported, the
                     respective Director is not permitted to take part in the consideration
23                   of that matter by the Board;
                   • Each Director discloses to the Board any related party transactions
24                   in which they are connected, and such transactions are reported in
                     the Group’s financial statements.
25
            Whilst Directors on the Board have other business interests, the Board do not
26          consider that these, nor the time commitment that they require, affect the
            ability of such Directors to undertake their role or comply with their statutory
27          obligations.
28

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 1         52.    The Annual Report 2017 reiterated the Annual Reports of 2015 and 2016 and
 2   listed several “key elements” of its controls and risk mitigation, stating in pertinent part:
 3                • A defined process for controlling capital expenditure, including
                    appropriate authorization levels, which is monitored and approved
 4                  by the Board as appropriate.
 5                                         *    *     *
 6                • A formal process through which approval for organic and inorganic
                    expansion projects is given. A formal transaction request paper is
 7                  produced including details of the proposed transaction, how the
                    transaction will be financed, market studies, strategic benefits and
 8                  longer term effects on the Group, due diligence and key
                    transaction risks are considered.
 9
     (Emphasis added.)
10
11         53.    The Annual Report 2017 reiterated the Annual Reports 2015 and 2016
12   regarding related party transactions, stating the following:
13
           RELATED PARTY TRANSACTIONS
14
           These represent transactions with related parties, including major
15         shareholders and senior management of the Group, and entities controlled,
           jointly controlled or significantly influenced by such parties, or where such
16         parties are members of the key management personnel of the entities. Pricing
           policies and terms of all transactions are approved by the management of the
17         Group.
18         The Company’s immediate and ultimate controlling party is a group of three
           individuals (H.E. Saeed Bin Butti, Dr BR Shetty and Mr Khalifa Bin Butti)
19         who are all shareholders and of whom two are directors of the Company and
           who together have the ability to control the company. As the immediate and
20         ultimate controlling party is a group of individuals, it does not produce
           consolidated financial statements.
21
22         RELATIONSHIP AGREEMENT
23         The Controlling Shareholders and the Company have entered into a
           relationship agreement, the principal purpose of which is to ensure that the
24         Company is capable of carrying out its business independently of the
           Controlling Shareholders and that transactions and relationships with the
25         Controlling Shareholders are at arm’s length and on a normal commercial
26
           basis.

27         In accordance with the terms of the relationship agreement, the Controlling
           Shareholders have a collective right to appoint a number of Directors to the
28         Board depending upon the level of their respective shareholdings. This
           entitlement reduces or is removed as the collective shareholdings reduce.
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           The relationship agreement includes provisions to ensure that the Board
 1         remains independent.
 2
                                           *     *     *
 3
           RELATED PARTY TRANSACTIONS
 4
 5
           These represent transactions with related parties, i.e. major shareholders and
           senior management of the Company, and entities controlled, jointly controlled
 6         or significantly influenced by such parties. Pricing policies and terms of all
           transactions are approved by the management of the Company.
 7
           The Company’s immediate and ultimate controlling party is a group of three
 8         individuals (H.E. Saeed Bin Butti, Dr BR Shetty and Mr Khalifa Bin Butti)
           who are all shareholders and of whom two are directors of the Company and
 9         who together have the ability to control the Company.
10
     (Emphasis added.)
11
           54.    The Annual Report 2017 also added the following regarding related party
12
     transactions, in pertinent part:
13
           TERMS AND CONDITIONS OF TRANSACTIONS WITH RELATED
14         PARTIES
15         The sales to and purchases from related parties are made on terms
           equivalent to those that prevail in arm’s length transactions.
16
     (Emphasis added.)
17
18         55.    The Annual Report 2017 stated that the Company’s “Net debt and payables”
19   as of December 31, 2017 was $1,316,726,000.
20         56.    On or around March 6, 2019, NMC released its Annual Report & Accounts
21   2018 (“Annual Report 2018”). The Annual Report 2018 was signed by Defendants Shetty
22   and Tompkins, the Company’sNon-Executive Joint Chairmen, and stated that the Board,
23
     including Defendants Shetty, Manghat and Tompkins, ensured that the “exposure of the
24
     Group to financial instruments” was fully set out in the Annual Report’s financial
25
     statements and accompanying footnotes.
26
           57.      The Annual Report 2018 stated the following, in pertinent part, regarding
27
     risk management:
28
           Risk management is an integral part of the success of our strategic journey
                                   SECOND AMENDED COMPLAINT
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            The Board consider the identification and mitigation of material risks and
 1          uncertainties faced by the Group as a key issue to be monitored at all levels
            of the organization.
 2
 3          58.     The Annual Report 2018 reiterated the false reassurances described above
 4   in the Annual Reports of 2015, 2016, and 2017 including, in pertinent part:
 5                 • Board oversight in approving and monitoring strategic projects
 6
                   • Project management controls
 7
                   • Detailed market and business appraisal and comprehensive due
 8                   diligence processes
 9                                           *      *      *
10                 • Full due diligence
11                                            *     *      *
12
                   • Rigorous analysis of value of the acquisition
13
                   • Focus on the corporate cultures involved
14
15          59.    The Annual Report 2018 touted the internal controls of the Company, stating
16   in pertinent part:
17          The Board and management team have strengthened internal controls and kept
            approach to risk under review during the period of sustained growth and
18          integration.
19
            60.    The Annual Report 2018, reiterated the Annual Reports 2015, 2016, and 2017
20
      regarding the Board and potential conflicts of interest, stating in pertinent part:
21
22          The Board are aware that some Directors have interests in other businesses in
            which they have invested. Any conflicts of interest and related party
23          transactions that may arise are monitored with:
24                 • Each of the Directors are asked to confirm that they have no other
                     interests which would conflict them for the purposes of any item to
25                   be discussed at the meeting; where such conflict is reported, the
                     respective Director is not permitted to take part in the consideration
26                   of that matter by the Board;
27                 • Each Director discloses to the Board any related party transactions
                     in which they are connected, and such transactions are reported in
28                   the Group’s financial statements.

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            Whilst Directors on the Board have other business interests, the Board do not
 1          consider that these, nor the time commitment that they require, affect the
            ability of such Directors to undertake their role or comply with their statutory
 2          obligations.
 3
            61.    The Annual Report 2018 stated the following regarding the Board and
 4
     potential conflicts of interest, in pertinent part:
 5
 6          Alignment of risk assurance with business growth

 7          While progressing its organic and inorganic growth strategy, over the last two
            years the Group has dedicated significant resources to integrating its recently
 8          acquired facilities while consolidating the market position of its legacy
            facilities, mainly in the UAE. Further, as the risks that the Group is exposed
 9          to continue to evolve (mainly due to macro-economic uncertainly and the
            uncertainty resulting from regulatory and technological disruption in the
10          healthcare sector) the Group is constantly re-evaluating the design
            effectiveness of key controls.
11
12          62.    The Annual Report 2018 reiterated the Annual Reports 2015, 2016, and 2017
13   and listed several “key elements” of its controls and risk mitigation. These key elements
14   included the following:
15
                   • Approval and review of the annual budget and long-term forecasts;
16
                   • Group Strategy including the risks and risk mitigation in relation to
17                   the same; and
18                 • Capital expenditure, financial structuring and acquisition and
19
                     investment decisions.

20                 • Formalized delegations of authority and lines of accountability as
                     part of the Group’s “cluster management structure” provides a
21                   mechanism to monitor performance and operations of a manageable
                     number of facilities in sufficient detail covering monthly operational
22                   and financial reporting including monthly comparison of results and
                     against budget and forecast, and a review of key KPIs.
23
                                              *      *     *
24
25
                   • Policies, procedures and controls covering:
26
                   • The preparation of financial statements of each subsidiary in
27                   accordance with IFRS, local tax and regulatory requirements (a
                     complete audit is carried out by the auditors of significant
28                   subsidiaries for the purposes of the Group’s year-end financial
                     statement);
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                  • The preparation of 20 standardized monthly/daily reports in
 1                  accordance with accounting policies of the Group, which are
                    formalized in a Group accounting manual given to all the
 2                  subsidiaries. This accounting manual is regularly updated to
                    incorporate any changes to IFRS and regulation;
 3
                  • The formal process for organic and inorganic expansion projects
 4                  with full assessments of potential acquisitions or other material
 5
                    investments including due diligence, financing, market studies, risk
                    analysis, strategic benefits to the Group;
 6
                  • The Group’s mitigation plans with respect to its strategic risks,
 7                  including cyber risks and protection of personal data; and
 8                • The Group’s long term viability and going concern basis of
                    accounting. These are conducted using both internal resources and
 9                  external consultants.
10                                           *    *      *
11         Therefore, all of our facilities and businesses we have an appropriate and
           relevant structure to provide effective and efficient management and clear
12         lines of accountability of both clinical and non-clinical areas. The Senior
           Management Team believes that these divisions of responsibility at both
13         facility and corporate levels provide a natural check and balance across all
           internal control areas.
14
15         63.    The Annual Report 2018 stated the following regarding the Company’s
16   internal controls, in pertinent part:
17         In reviewing the effectiveness of the internal controls in place during the year,
           the Audit Committee considered, amongst other matters, the enhancements to
18         the control framework, manual controls in place, the independence of the
19
           separate operating units, the delegated authorities, the balance of centralized
           and decentralized systems and the reporting process in relation to exceptional
20         items.

21                                           *    *      *
22         The Board has reviewed the effectiveness of the Group’s systems of internal
           controls for the 2018 financial year, in light of the key elements of the Group’s
23         internal controls outlined above. Given the additional internal controls that
           have been incorporated into the Group’s financial and operational reporting
24         process, such that sufficient internal controls were in place to monitor the
           Group’s key risks, the Board believes, having evaluated the both the design
25         and operating effectiveness of the internal controls and procedures, that these
           were effective during the period covered by this report. The Board also
26         believes that the process undertaken by the Board and its Committees to
           monitor the internal control environment, accords with the guidance provided
27         in the FRC’s Guidance on Risk Management, Internal Control and Related
           Financial and Business Reporting.
28

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 1         64.   The Annual Report 2018 stated that the Company’s “Net debt and payables”
 2   as of December 31, 2018 was 1,892,489,000.
 3         65.    The Annual Report 2018 included in its calculation of “Net debt and
 4   payables” only $4,679,000 of “Finance lease liability” on 31 December 2018.
 5         66.   On or around August 22, 2019, NMC released its Financial Report for the
 6   Six Months Ended 30 June 2019 (“H1 2019”).
 7         67.   The H1 2019, updated its lease liabilities by adding $352,203,000. This was
 8   noted as “[f]ollowing a review of lease data validation during the IFRS 16 transition
 9
     process, additional lease payments were identified which were previously not part of
10
     operating lease commitments.”
11
           68.   On November 11, 2019, NMC issued a press release entitled “Progress on
12
     key governance initiatives; Enhanced disclosure on Supply Chain Financing being utilized
13
     by NMC’s Distribution suppliers[.]” (the “November; 2019 Press Release”).              The
14
     November 2019 Press Release was meant, in part, to “provide[] greater clarity on Supply
15
     Chain Financing utilized by the company’s non-healthcare, Distribution suppliers.”
16
           69.   The November 2019 Press Release explained its suppliers’ use of supply
17
     chain financing, stating in pertinent part:
18
           [I]n order to support its vendors and facilitate the stringent demands of such
19         contracts, NMC permits receivable financing for its suppliers through supply
           chain programs. Key features of all such programs include:
20
                 - Financing is arranged after NMC guarantees payment to the supplier
21                 for the full provision of contracted goods/services
                 - All supply chain financing arrangements are initiated by suppliers -
22                 All costs of supply chain financing are always borne by the suppliers
                 - The financing is non-recourse to NMC
23               - NMC supports suppliers’ initiatives for supply chain financing
                   through reputed platforms
24
25         70.   The statements contained in ¶¶ 27-69 were materially false and/or misleading
26   because they misrepresented and failed to disclose the following adverse facts pertaining
27   to the Company’s business, operations and prospects, which were known to Defendants
28   or recklessly disregarded by them. Specifically, Defendants made false and/or misleading
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 1   statements and/or failed to disclose that: (i) the Company lacked effective internal controls
 2   and risk management; (ii) the Company engaged in undisclosed and extensive related
 3   party and de facto related party transactions; (iii) NMC’s debts were significantly
 4   understated and obfuscated; (iv) NMC’s cash-on-hand figures were overstated; (v) NMC’s
 5   principal shareholders were not accurately reporting or accounting their interests or stakes
 6   in the Company; (vi) NMC did not review or know their principal shareholders interests
 7   or stakes in the Company; (vii) consequently, the Company was not enforcing its
 8   Relationship Agreement with the principal shareholders; and (viii) as a result, Defendants’
 9
     statements about NMC’s business, operations, and prospects, were materially false and
10
     misleading and/or lacked a reasonable basis at all relevant times.
11                          THE TRUTH BEGINS TO EMERGE
12          71.    On December 17, 2019, Muddy Waters Capital LLC (“Muddy Waters”)
13   published a report (the “Report”) explaining that NMC had misled investors and failed to
14   disclose: (i) its lack of internal controls; (ii) (de facto) related party transactions; (iii) its
15   true debt burden; (iv) its true cash-on-hand and asset values; and (v) its use of reverse
16
     factoring.
17
            72.    The Report noted that NMC’s build-out costs of NMC Royal Women’s
18
     Hospital (then-named Brightpoint Hospital) were double the market price – as opposed to
19
     NMC’s continued statements regarding its internal controls and lack of improper related
20
     party transactions. Muddy Waters stated the following regarding this transaction’s costs,
21
     in pertinent part:
22
            Reasonably sophisticated hospitals in the UAE seem to cost $3,000 to $4,000
23          per square meter to build on an all-in cost basis, and the trend is broadly
            consistent across metropolitan areas in the Gulf states. We calculate that NMC
24          Royal Women’s, on the other hand, cost $7,700 per square meter. This is more
            than double the average cost of the group of hospitals we examined.
25
            73.    The primary contractor for that project was Modular Concepts, LLC
26
     (“Modular Concepts”), a Defendant Shetty controlled company. The Report noted that
27
     Modular Concepts has built many hospitals for NMC and its management. In fact,
28
     according to the Report, relying on the Indian credit rating agency ICRA, NMC provides
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 1   80% of Modular Concepts revenues. Modular Concepts is also 30% owned by Pradeep
 2   Rai (“Rai”), NMC’s Head of Procurement. Rai is also Defendant Shetty’s long-time
 3   confidant and a non-blood relative.
 4         74.   The Report noted that the Royal Women’s Hospital project also included the
 5   KBBO Group, a Defendant K. Bin Butti controlled company.
 6         75.   The Report noted that in March 2018, NMC acquired 70% of Premier Care
 7   Home Medical and Health Care LLC (“Premier”) for $36.4 million cash. The sole advisor
 8   to the transaction was Guggenheim KBBO Partners Investment Banking – a joint venture
 9
     of KBBO Group. Premier was founded in 2014 and 91% of the sale was for intangibles.
10
     The Report found that Premier’s facility was only 280 square meters and employed only
11
     nine people – and the facility did not have authorization to conduct medical procedures.
12
     In November 2018, NMC ceded a 1% share of Premier to H.E. Bin Butti. In November
13
     2019, NMC purchased another 30% stake in Premier.
14
           76.   The Report noted that in 2018, NMC acquired 70% of CosmeSurge from
15
     KBBO Group for $170 million (12x EBIDA) without any third-party valuation.
16
           77.   The Report noted that Muddy Waters added up NMC’s financial statements
17
     and determined NMC to have $491 million cash-on-hand at year-end 2018. However,
18
     NMC’s interest expense of its debt is 5.7% and the Company’s annual interest income
19
     average was 0.77%. The Report noted that NMC’s interest income is too low for its
20
     reported cash balances.
21
22
           78.   According to the Report, following the Aspen acquisition, NMC has not

23   included the approximately $320 million finance leases the Company inherited. The

24   Report claims that this is in addition to the $352.2 million of operating leases which NMC
25   failed to include in its Annual Report 2018 but then disclosed in its H1 2019. Moreover,
26   the Report claims that the undiscounted liability NMC holds from the Aspen acquisition
27   is approximately $450 million, not $350 million (as of Fiscal Year 2018, Aspen’s filings
28   included minimum noncancelable undiscounted lease payments of £353 million).

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 1         79.    The Report noted that, as opposed to long-standing impressions, NMC has
 2   been utilizing supply chain financing facilities, i.e. “reverse factoring.” The Report stated
 3   in pertinent part:
 4         We found reverse factoring facilities for NMC arranged by Credit Suisse and
 5
           Channel Finance S.A. Both are recourse to NMC.

 6                                          *      *      *

 7         The Moody’s analyst recently confirmed his understanding that NMC does
           not engage in reverse factoring. However, a July 2019 sell-side report on NMC
 8         mentioned two Credit Suisse supply chain finance funds that own payables of
           NMC; NMC then apparently denied this was reverse factoring because the
 9         payables were not tied to a single supplier, which the sell-side analyst
           dismissed as a “borderline technicality”.
10
           The reality is that NMC does engage in reverse factoring, and it goes beyond
11         the Credit Suisse amounts. In addition to the Credit Suisse funds, we found a
           facility issued by an entity called Channel Finance. Just as importantly, we
12         suspect that NMC’s reported debt does not include these reverse factoring
           facilities. Interestingly, in November 2019, the notes financing the facility
13         were de-listed, which could be an attempt to conceal this facility.
14
           80.    Reverse factoring, as summarized by a Barron’s article covering the Report,
15
     is described as:
16
17         [A] third party pays off the company’s suppliers early, and the company pays
           the financier back at a later date. . . In short, reverse factoring transactions
18         allow companies to put off paying suppliers for longer, while suppliers get
           paid on time.
19
           Meanwhile, accounting and credit-rating firms are starting to express some
20         significant concerns about supply-chain finance and reverse factoring. In
           particular, they are worried that companies that use this technique are not
21         disclosing an accurate picture of their total debt loads. There are also worries
           because of the role reverse factoring played in the high-profile collapses of the
22         U.K.’s Carillion and Spain’s Abengoa.
23                                          *      *      *
24         And while reverse factoring can boost company cash in the short term, it
           comes with risks if a company falls into distress, the Moody’s analysts wrote.
25
26
           “Many non-financial corporates have created a ‘tiger trap’ financing
           arrangement,” they said. “With inadequate disclosure, the [reverse factoring]
27         facility can lie hidden in the capital structure until…[it leaves] a big liquidity
           hole which magnifies and intensifies the underlying problem.”
28
     (Emphasis added.)
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 1         81.    On this news, NMC ADSs fell $11.68 per ADS, or over 33.6%, to close at
 2   $23.00 per ADS on December 17, 2019, from its December 16, 2019 close at $34.68,
 3   damaging investors.
 4         82.    Then, on January 8, 2020, NMC issued a press release entitled “KBBO
 5   pricing announcement” which acknowledged and downplayed Defendant K. Bin Butti and
 6   H.E. Bin Butti’s 31.2 million shares sell-off, which equates to roughly 15% of the
 7   Company, from January 7, 2020.
 8         83.    On this news, NMC ADSs fell $6.48 per ADS, or over 28.4%, to close at
 9
     $16.36 per ADS on January 8, 2020, from its January 6, 2020 close at $22.84, further
10
     damaging investors.
11
           84.    Then, on February 14, 2020, NMC issued a press release with preliminary
12
     share data, unverified, provided by Defendant K. Bin Butti, H.E. Bin Butti, and Defendant
13
     Shetty. The press release confirmed the need for greater clarity from its long-time
14
     principal shareholders, stating:
15
16         The Company continues urgently to seek clarity from Dr. B.R. Shetty, Khalifa
           Bin Butti and H.E. Saeed Bin Butti in relation to the above arrangements and
17         their respective shareholdings, and encourages Dr. B.R. Shetty, Khalifa Bin
           Butti and H.E. Saeed Bin Butti, and their advisers, to agree the legal position
18         in relation to the ownership of the Ordinary Shares in question without further
19
           delay.

20         85.    That same day, NMC announced that Defendant K. Bin Butti had resigned as
21   a Director effective immediately.
22         86.    On this news, NMC ADSs fell $0.54 per ADS, or almost 5%, to close at
23
     $10.40 per ADS on February 14, 2020, further damaging investors.
24
           87.    Then on February 17, 2020, NMC announced that Abdulrahman Basaddiq
25
     and Hani Buttikhi had both resigned as Directors of the Company. Both were appointed
26
     to the Board of Directors by the principal shareholder group of Defendant K. Bin Butti,
27
     H.E. Bin Butti, and Defendant Shetty.
28

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 1         88.      Also on February 17, 2020, NMC announced that Defendant Shetty had
 2   resigned as Joint-Non-Executive Chairman and as a Director of the Company.
 3         89.      Then, on February 18, 2020, NMC announced an update to Defendant
 4   Shetty’s shares of the Company. The update announced that a bank account for BRS
 5   International Holding Ltd (“BRS International”), of which Defendant Shetty is the sole
 6   shareholder, had sold over 10 million shares of NMC ordinary shares between February 3
 7   and 6, 2020.
 8         90.      On this news, NMC ADSs fell $0.74 per ADS, or over 6.5%, to close at
 9
     $10.48 per ADS on February 19, 2020, further damaging investors.
10
           91.      Then on February 24, 2020, BRS International, announced that Defendant
11
     Shetty “had pledged 7 million of the company's shares as security for debt” to Goldman
12
     Sachs. It was also announced that Defendant Shetty only “currently has a 9.81% interest”
13
     in NMC.
14
           92.      On this new NMC ADSs fell $0.66 per ADS, or over 5.7%, to close at $10.81
15
     per ADS on February 24, 2020, further damaging investors.
16
           93.      Then, on March 10, 2020, the Financial Times published the article titled
17
     “NMC Health Discovers Almost $3bn of Debt Hidden from Its Board” which continued
18
     to disclose NMC’s lack of internal controls and under reporting of debt reporting.
19
           94.      Further on March 10, 2020, Bloomberg published the article titled “Abu
20
     Dhabi Insurer Steps In to Help NMC Health Pay Salaries” reporting that an insurer was
21
22
     assisting to pay NMC’s expenses, stating the following in pertinent part:

23         An Abu Dhabi-owned insurer is helping NMC Health Plc pay overdue bills,
           according to people familiar with the matter, in what could be a sign the
24         emirate is stepping in to help the embattled hospital operator.
25         The National Health Insurance Co., known as Daman, is speeding up
           payments to Abu Dhabi-based NMC so it can pay salaries and other invoices,
26         the people said.
27
           95.      On this news, NMC ADSs fell $3.28 per ADS, or almost 64%, to close at
28
     $1.85 per ADS on March 10, 2020, further damaging investors.
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 1         96.    As a result of Defendants’ wrongful acts and omissions, and the precipitous
 2   decline in the market value of the Company’s securities, Plaintiffs and other Class
 3   members have suffered significant losses and damages.
 4                     PLAINTIFFS’ CLASS ACTION ALLEGATIONS
 5         97.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil
 6   Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than
 7   defendants who acquired NMC ADS securities publicly traded on the OTC Pink during
 8   the Class Period, and who were damaged thereby (the “Class”). Excluded from the Class
 9
     are Defendants, the officers and directors of NMC, members of the Individual Defendants’
10
     immediate families and their legal representatives, heirs, successors or assigns and any
11
     entity in which Officer or Director Defendants have or had a controlling interest.
12
           98.    The members of the Class are so numerous that joinder of all members is
13
     impracticable. Throughout the Class Period, NMC ADSs were actively traded on the OTC
14
     Pink. While the exact number of Class members is unknown to Plaintiffs at this time and
15
     can be ascertained only through appropriate discovery, Plaintiffs believe that there are
16
     hundreds, if not thousands of members in the proposed Class.
17
           99.    Plaintiffs’ claims are typical of the claims of the members of the Class as all
18
     members of the Class are similarly affected by Defendants’ wrongful conduct in violation
19
     of federal law that is complained of herein.
20
           100. Plaintiffs will fairly and adequately protect the interests of the members of
21
22
     the Class and has retained counsel competent and experienced in class and securities

23   litigation. Plaintiffs have no interests antagonistic to or in conflict with those of the Class.

24         101. Common questions of law and fact exist as to all members of the Class and
25   predominate over any questions solely affecting individual members of the Class. Among
26   the questions of law and fact common to the Class are:
27                • whether the Exchange Act was violated by Defendants’ acts as alleged
                    herein;
28

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                     • whether statements made by Defendants to the investing public during the
 1                     Class Period misrepresented material facts about the financial condition
                       and business of NMC;
 2
                     • whether Defendants’ public statements to the investing public during the
 3                     Class Period omitted material facts necessary to make the statements
                       made, in light of the circumstances under which they were made, not
 4                     misleading;
 5                   • whether the Defendants caused NMC to issue false and misleading filings
 6                     during the Class Period;

 7                   • whether Defendants acted knowingly or recklessly in issuing false filings;
 8                   • whether the prices of NMC ADSs during the Class Period were artificially
                       inflated because of the Defendants’ conduct complained of herein; and
 9
                     • whether the members of the Class have sustained damages and, if so, what
10                     is the proper measure of damages.
11            102. A class action is superior to all other available methods for the fair and
12    efficient adjudication of this controversy since joinder of all members is impracticable.
13    Furthermore, as the damages suffered by individual Class members may be relatively
14    small, the expense and burden of individual litigation make it impossible for members of
15    the Class to individually redress the wrongs done to them. There will be no difficulty in
16    the management of this action as a class action.
17            103. Plaintiffs will rely, in part, upon the presumption of reliance established by
18    the fraud-on-the-market doctrine in that:
19                   • As detailed above, Defendants made public misrepresentations and/or
20                     failed to disclose material facts during the Class Period, artificially
                       inflating the price of NMC ADSs;
21
                     • Plaintiffs purchased NMC ADSs                after   Defendants     made
22                     misrepresentations and omissions;
23                   • NMC ADSs met the requirements for listing, and were listed and actively
                       traded on the OTC Pink, an efficient market;
24
                     • NMC ADSs were liquid      and traded with high share turnover. In total,
25                     1,664,400 ADS shares6 were traded during the 209-week Class Period, or
                       an average of approximately 7,936 ADS shares per week. This amounts
26                     to a weekly turnover of approximately 2% of the estimated 400,000 ADS
                       shares outstanding during the Class Period, entitling NMC ADS to a
27                     “strong presumption” of efficiency;
28
     6
         Source: Yahoo! Finance.
                                    SECOND AMENDED COMPLAINT
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                   • NMC Ordinary Shares were also traded with very high frequency on the
 1                   London Stock Exchange (“LSE”), where NMC (until March 2020) was
                     part of the FTSE 100, an index of the largest, most active, and most
 2                   prestigious stocks in the United Kingdom. Academic research shows that
                     foreign ordinary shares and American depositary shares can and are
 3                   arbitraged, such that prices generally track each other efficiently so that
                     there is no opportunity to exploit trades between the two markets.
 4                   Plaintiffs are aware of no exploitable differentials between the prices set
 5
                     for NMC Ordinary Shares on the LSE and NMHLY on the Pink Sheets.
                     Consequently, Plaintiffs will establish that the active trading on the LSE
 6                   also bolstered the efficiency of the Pink Sheets trading of NMC ADSs;

 7                 • NMC regularly communicated with public investors (including American
                     investors) via established market communication mechanisms, including
 8                   through the regular dissemination of press releases via major newswire
                     services and through other wide-ranging public disclosures, such as
 9                   communications with the financial press and other similar reporting
                     services;
10
                   • Multiple market makers made markets for NMC ADSs during the Class
11                   Period. Additionally, NMC Ordinary Shares bought on LSE could be
                     arbitraged against NMC ADSs, increasing efficiency (for example, if a
12                   momentary pricing anomaly surfaced, an investor could buy in London
                     and sell on the Pink Sheets, or vice versa, until such anomaly was
13                   arbitraged away);
14                 • NMC was followed by a number of securities analysts employed by major
                     brokerage firms who wrote reports that were widely distributed and
15                   publicly available. Additionally, NMC was widely reported on by press
                     worldwide, including but not limited to those articles cited in the footnotes
16                   herein, and corporate developments were also conveyed to investors via
                     social media like Twitter and StockTwits, as well as message boards like
17                   those available on the LSE website;
18                 • While Form S-3 requirements do not apply to ADS issuances registered
19
                     by a depositary bank, NMC as a company satisfied the float thresholds of
                     Form S-3 and had disclosed its financials (albeit with material omissions
20                   and misrepresentations) for years, as Form S-3 requires; and

21                 • NMC ADSs demonstrated a cause-and-effect relationship between the
                     disclosure of material, Company-specific news and movement in ADS
22                   share price, as demonstrated by the disclosure events alleged above.
23          104. Based on the foregoing, the market for NMC ADSs promptly digested current

24    information regarding NMC from all publicly available sources and reflected such
25    information in the prices of the securities, and Plaintiffs and the members of the Class are
26    entitled to a presumption of reliance upon the integrity of the market.
27          105. Alternatively, Plaintiffs and the members of the Class are entitled to the
28    presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the

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 1   State of Utah v. United States, 406 U.S. 128 (1972), as Defendants primarily omitted
 2   material information in their Class Period statements in violation of a duty to disclose such
 3   information as detailed above.
                                                COUNT I
 4
 5
            For Violations of Section 10(b) and Rule 10b-5 Promulgated Thereunder

 6                                     Against All Defendants

 7          106. Plaintiffs repeat and reallege each and every allegation contained above as if
 8   fully set forth herein.
 9
            107. This Count asserted against Defendants is based upon Section 10(b) of the
10
     Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.
11
            108. During the Class Period, Defendants, individually and in concert, directly or
12
     indirectly, disseminated or approved the false statements specified above, which they
13
     knew    or    deliberately   disregarded    were   misleading   in   that   they   contained
14
     misrepresentations and failed to disclose material facts necessary in order to make the
15
     statements made, in light of the circumstances under which they were made, not
16
     misleading.
17
            109. Defendants violated §10(b) of the 1934 Act and Rule 10b-5(a), (b) and (c) in
18
     that they:
19
20                 • employed devices, schemes and artifices to defraud;

21                 • made untrue statements of material facts or omitted to state material facts
                     necessary in order to make the statements made, in light of the
22                   circumstances under which they were made, not misleading; or
23                 • engaged in acts, practices and a course of business that operated as a fraud
                     or deceit upon Plaintiffs and others similarly situated in connection with
24                   their purchases of NMC ADSs during the Class Period.
25
            110. Defendants acted with scienter in that they knew that the public documents
26
      and statements issued or disseminated in the name of NMC were materially false and
27
      misleading; knew that such statements or documents would be issued or disseminated to
28
      the investing public; and knowingly and substantially participated, or acquiesced in the
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 1   issuance or dissemination of such statements or documents as primary violations of the
 2   securities laws. These defendants by virtue of their receipt of information reflecting the
 3   true facts of NMC, their control over, and/or receipt and/or modification of NMC’s
 4   allegedly materially misleading statements, and/or their associations with the Company
 5   which made them privy to confidential proprietary information concerning NMC,
 6   participated in the fraudulent scheme alleged herein.
 7          111. Individual Defendants, who are the senior officers and/or directors of the
 8   Company, had actual knowledge of the material omissions and/or the falsity of the material
 9
     statements set forth above, and intended to deceive Plaintiffs and the other members of the
10
     Class, or, in the alternative, acted with reckless disregard for the truth when they failed to
11
     ascertain and disclose the true facts in the statements made by them or other NMC
12
     personnel to members of the investing public, including Plaintiffs and the Class.
13
            112. As a result of the foregoing, the market price of NMC’s ADSs was artificially
14
     inflated during the Class Period. In ignorance of the falsity of Defendants’ statements,
15
     Plaintiffs and the other members of the Class relied on the statements described above
16
     and/or the integrity of the market price of NMC ADSs during the Class Period in
17
     purchasing NMC ADSs at prices that were artificially inflated as a result of Defendants’
18
     false and misleading statements and/or omissions.
19
            113. Had Plaintiffs and the other members of the Class been aware that the market
20
     price of NMC ADSs had been artificially and falsely inflated by Defendants’ misleading
21
22
     statements and by the material adverse information which Defendants did not disclose,

23   they would not have purchased NMC ADSs at the artificially inflated prices that they did,

24   or at all.
25          114. As a result of the wrongful conduct alleged herein, Plaintiffs and other
26    members of the Class have suffered damages in an amount to be established at trial.
27          115. By reason of the foregoing, Defendants have violated Section 10(b) of the
28    1934 Act and Rule 10b-5 promulgated thereunder and are liable to the Plaintiff and the

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 1   other members of the Class for substantial damages which they suffered in connection
 2   with their purchase of NMC ADSs during the Class Period.
 3                                            COUNT II
 4                       Violations of Section 20(a) of The Exchange Act
 5                              Against the Individual Defendants
 6          116. Plaintiffs repeat and reallege each and every allegation contained in the
 7   foregoing paragraphs as if fully set forth herein.
 8          117. During the Class Period, the Individual Defendants participated in the
 9
     operation and management of NMC, and conducted and participated, directly and
10
     indirectly, in the conduct of NMC’s business affairs. Because of their senior positions,
11
     they knew the adverse non-public information about NMC’s misstatement of revenue and
12
     profit and false financial statements.
13
            118. As officers and/or directors of a publicly owned company, the Individual
14
     Defendants had a duty to disseminate accurate and truthful information with respect to
15
     NMC’s financial condition and results of operations, and to correct promptly any public
16
     statements issued by NMC which had become materially false or misleading.
17
            119. Because of their positions of control and authority as senior officers, the
18
     Individual Defendants were able to, and did, control the contents of the various reports,
19
     press releases and public filings which NMC disseminated in the marketplace during the
20
     Class Period concerning NMC’s results of operations. Throughout the Class Period, the
21
22
     Individual Defendants exercised their power and authority to cause NMC to engage in the

23   wrongful acts complained of herein.         The Individual Defendants, therefore, were

24   “controlling persons” of NMC within the meaning of Section 20(a) of the Exchange Act.
25   In this capacity, they participated in the unlawful conduct alleged which artificially
26   inflated the market price of NMC ADSs.
27          120. By reason of the above conduct, the Individual Defendants are liable pursuant
28    to Section 20(a) of the Exchange Act for the violations committed by NMC.

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 1                                     PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiffs, on behalf of themselves and the Class, pray for
 3   judgment and relief as follows:
 4         A.     Declaring this action to be a proper class action, designating Plaintiffs as class
 5    representatives under Rule 23 of the Federal Rules of Civil Procedure and designating
 6    Plaintiffs’ counsel as Class Counsel;
 7         B.     Awarding damages in favor of Plaintiffs and the other Class members against
 8    all defendants, jointly and severally, together with interest thereon;
 9
           C.     Awarding Plaintiffs and the Class reasonable costs and expenses incurred in
10
      this action, including counsel fees and expert fees; and
11
           D.     Awarding Plaintiffs and other members of the Class such other and further
12
      relief as the Court may deem just and proper.
13
                                   JURY TRIAL DEMANDED
14
           Plaintiffs hereby demand a trial by jury.
15
16
     Dated: November 12, 2021                       Respectfully submitted,
17
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18
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